ATTACHMENT B
   PART 3
       JPMC Response: Undisputed that cited document is a summary of transactions
       prepared by USVI’s proffered expert Jorge Amador. Disputed that this information was
       available to JPMorgan in this format during the time Epstein was a client of JPMorgan.
       Disputed as to materiality to the extent this summary fails to put Epstein’s transactions in
       the appropriate context. See JPMC Ex. 60 ¶¶ 22, 88, 92.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       participated in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶ 108-169.

243.   From 2006 through 2013, JPMorgan recorded $3,098,825 in cash withdrawals from

Epstein’s JPMorgan accounts. Ex. 56 at 24-26 and Figure 8.

       JPMC Response: Undisputed that cited document is a summary of transactions
       prepared by USVI’s proffered expert Jorge Amador. Disputed that this information was
       available to JPMorgan in this format during the time Epstein was a client of JPMorgan.
       Disputed as to materiality to the extent this summary fails to put Epstein’s transactions in
       the appropriate context. See JPMC Ex. 60 ¶¶ 22, 88, 92.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       participated in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶ 108-169.

244.   From 2003 to 2007, JPMorgan recorded $3,383,912 in cash withdrawals from Epstein’s

JPMorgan accounts. Ex. 56 at 24-26 and Figure 8.

       JPMC Response: Undisputed that cited document is a summary of transactions
       prepared by USVI’s proffered expert Jorge Amador. Disputed that this information was
       available to JPMorgan in this format during the time Epstein was a client of JPMorgan.
       Disputed as to materiality to the extent this summary fails to put Epstein’s transactions in
       the appropriate context. See JPMC Ex. 60 ¶¶ 22, 88 92.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       participated in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶ 108-169.

245.   From 2005 to 2006, JPMorgan recorded $1,842,602 in cash withdrawals from Epstein’s

JPMorgan accounts. Ex. 56 at 24-26 and Figure 8.

       JPMC Response: Undisputed that cited document is a summary of transactions
       prepared by USVI’s proffered expert Jorge Amador. Disputed that this information was
       available to JPMorgan in this format during the time Epstein was a client of JPMorgan.
       Disputed as to materiality to the extent this summary fails to put Epstein’s transactions in
       the appropriate context. See JPMC Ex. 60 ¶¶ 22, 88 92.


                                               149
       custody. . . mitigat[ed] the risk presented by Mr. Epstein” because JPMorgan was “not
       expanding the relationship based on the reputational risk that we knew of at the time in
       October of 2006.” USVI Ex. 35 at 119: 2-16. McCleerey further testified that “limiting
       [Epstein] to being a banking-only client” should have “limit[]ed the risk presented by Mr.
       Epstein” because “we would cap the number of accounts and relationships with him.” Id.
       at 119:17-120:1-4.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

262.   In October 2007, JPMorgan continued doing “business as usual with Epstein’s office.”

Ex. 102 at -963.

       JPMC Response: Disputed that JPMorgan continued doing business as usual with
       Epstein’s office in October 2007. JPMorgan did not continue doing business as usual
       with Epstein’s office following his 2006 indictment and instead limited Epstein primarily
       to banking services. See USVI Ex. 76 at -953. The cited document is an October 25,
       2007 email from Casey, sent after the decision was made to limit Epstein to banking
       services, that contains the text “[m]y current understanding is that we are business as
       usual with Epstein’s office” in the context of whether to authorize a new Letter of Credit
       for Epstein’s office. See USVI Ex. 102 at -963.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

263.   At the time, Mary Erdoes wanted to “move forward based on our earlier decision to

continue doing business” with Epstein. Ex. 102 at -962; Ex. 32 at 264:16-265:2; 273:24-274:22.

       JPMC Response: Undisputed that the cited document regarding the decision whether to
       authorize a new Letter of Credit for Epstein in October 2007 contains the quoted text.
       Disputed that Erdoes “wanted” to move forward with authorizing a new letter of credit
       for Epstein in October 2007. JPMorgan lacks knowledge as to Erdoes’ state of mind
       regarding whether or not to authorize a new Letter of Credit for Epstein in October 2007.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

264.   By July 2008, Epstein’s JPMorgan accounts had increased to total approximately $121.5

million. Ex. 165 at 944; Ex. 32 at 309:8-311:3.

                                              163
       JPMC Response: Undisputed that cited document, a July 3, 2013 email from Nelson to
       McCleerey and Duffy states, “The assets [Epstein] keeps at J.P. Morgan are his own
       money, which he actively trades through our Global Investment Opportunities desk with
       Paul Barrett’s team.” USVI Ex. 169 at -230.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

273.   At the time, Epstein’s Banker (Justin Nelson) described Epstein as “one of the most active

and sophisticated investors on the GIO desk.” Ex. 169 at -230.

       JPMC Response: Undisputed that Epstein’s banker described Epstein as “one of the
       most active and sophisticated investors on the GIO desk.” USVI Ex. 169 at -230.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

274.   In September 2013, JPMorgan noted the impact of exiting Epstein roughly equated to

“$0.5MM YoY revenue decrease in 2013. In 2014 it will be roughly a -$2MM revenue impact.”

Ex. 170 at -016. JPMorgan further noted, “He currently has $176MM with us and actually has

TCP flows of +$72MM this year.” Id.

       JPMC Response: Disputed that JPMorgan “noted the impact” of exiting Epstein
       equated to “$0.5MM YoY revenue decrease in 2013. In 2014 it will be roughly a -$2MM
       revenue impact.” The quoted text appears in a September 24, 2013 email from Carmen
       Zee to Thomas K. Southmayd, which was sent after the decision was communicated to
       Epstein in August 2013 that JPMC would be exiting his relationship. See JPMC Ex. 68.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

275.   In or about the year 2000, Douglas “Sandy” Warner, then CEO of JPMorgan, said to

Staley (then Head of Private Bank), “...[Y]ou should meet [sic] Epstein. He’s one of the most

connected people I know of in New York.” Ex. 46 at 45:18-47:4.

       JPMC Response: Undisputed that Staley testified as to the quoted text. Disputed to the
       extent the underlying fact requires a credibility determination.
                                              166
       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

276.   JPMorgan admits Epstein introduced and referred potential clients to JPMorgan Private

Bank. Ex. 39 at Resps. 5, 6.

       JPMC Response: Undisputed that Epstein introduced and referred clients Robert Lee
       Burch III, Kathryn Ruemmler, and Ghisliane Maxwell to the JPMorgan Private Bank.
       See USVI Ex. 39 at Resp. 29; JPMC Ex. 69 at Resp. 3.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

277.   Epstein referred a number of ultra-high net worth clients to JPMorgan over the years. Ex.

48 at Resp. 17; Ex. 46 at 86:19-23.

       JPMC Response: Undisputed that Epstein referred Robert Lee Burch III, Kathryn
       Ruemmler, and Ghislaine Maxwell to JPMC. See USVI Ex. 39 at Resp. 29; JPMC Ex.
       69 at Resp. 3.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

278.   One of the factors impacting bonuses for JPMorgan Private Bankers was new client

acquisition. Ex. 171 at 83:18-84:4.

       JPMC Response: Disputed that one of the factors impacting bonuses for JPMorgan
       Private Bankers was new client acquisition. The cited document does not support the
       proposition as Nelson testified that new client acquisition was “one of the factors that
       could be considered for compensation.” USVI Ex. 171 at 83:21-25; 84:1-4.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

279.   One of the objectives that was instilled in JPMorgan Private Bankers was to acquire new

clients. Epstein referred Bill Gates as a client to JPMorgan. Ex. 46 at 88:3-4.



                                               167
       JPMC Response: Disputed that “[o]ne of the objectives that was instilled in JPMorgan
       Private Bankers was to acquire new clients.” The cited testimony does not support this
       proposition. Disputed to the extent Staley’s testimony does not support the assertion that
       Epstein referred any clients to JPMC. See JPMC Ex. 70 at 386:14–17 (“I don’t think
       [Epstein] referred clients to the bank. I met clients through him, but I don’t think he was
       making a referral.”).

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

280.   Epstein referred Sergey Brin as a client to JPMorgan. Ex. 46 at 87:2-4.

       JPMC Response: Disputed. Staley’s testimony does not support the assertion that
       Epstein referred any clients to JPMC. See JPMC Ex. 70 at 386:14–17) (“I don’t think
       [Epstein] referred clients to the bank. I met clients through him, but I don’t think he was
       making a referral.”). See also JPMC Ex 62 at Resp. 18.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

281.   Epstein referred Google LLC as a client to JPMorgan. Ex. 46 at 87:5-6.

       JPMC Response: Disputed. Staley’s testimony does not support the assertion that
       Epstein referred any clients to JPMC. See JPMC Ex. 70 at 386:14–17 (“I don’t think
       [Epstein] referred clients to the bank. I met clients through him, but I don’t think he was
       making a referral.”). Disputed that Epstein referred Google LLC as a client to JPMorgan.


              See JPMC Ex. 71 at 53:3-18.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

282.   Epstein referred the Sultan of Dubai, Sultan Ahmed bin Sulayem as a client to JPMorgan.

Ex. 46 at 87:7-8.

       JPMC Response: Disputed. Staley’s testimony does not support the assertion that
       Epstein referred any clients to JPMC. See JPMC Ex. 70 at 386:14–17 (“I don’t think
       [Epstein] referred clients to the bank. I met clients through him, but I don’t think he was
       making a referral.”). See also JPMC Ex. 62 at Resp. 26.



                                               168
         Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
         benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
         170-175.

287.     Boris Nikolic was a medical advisor, who ran a venture fund. Ex. 160 at 17:13-18:4.

         JPMC Response: Undisputed that Morris testified during his deposition that, “Boris
         Nikolic was a medical advisor. He was an entrepreneur, runs a venture fund.” See USVI
         Ex. 160 at 17:22-25.

         Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
         benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
         170-175.

288.     Boris Nikolic was “somehow related to Bill Gates.” Ex. 160 at 17:13-18:4.

         JPMC Response: Undisputed that the cited deposition contains the quoted testimony.
         See USVI Ex. 160 at 18:2-4.

         Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
         benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
         170-175.
289.     Epstein referred Larry Summers as a client to JPMorgan. Ex. 46 at 88:12-13.

         JPMC Response: Disputed. Staley’s testimony does not support the assertion that
         Epstein referred any clients to JPMC. See JPMC Ex. 70 at 386:14–17 (“I don’t think
         [Epstein] referred clients to the bank. I met clients through him, but I don’t think he was
         making a referral.”).

         Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
         benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
         170-175.

290.     Epstein referred Thomas Pritzker, chairman and CEO of the Pritzker Organization, as a

client or for additional activities or funds to JPMorgan. Ex. 172 at Resp. 49; Ex. 46 at 310:19-

311:4.

         JPMC Response: Disputed. Staley’s testimony does not support the assertion that
         Epstein referred any clients to JPMC. See JPMC Ex. 70 at 386:14–17 (“I don’t think
         [Epstein] referred clients to the bank. I met clients through him, but I don’t think he was
         making a referral.”). See also USVI Ex. 39 at Resp. 31.




                                                 170
       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

291.   Epstein facilitated meetings between Staley and Ehud Barak. Ex. 46 at 89:11-16.

       JPMC Response: Disputed to the extent the cited testimony does not support the
       contention that Epstein facilitated meetings between Staley and Barak. Staley testified
       that he met Barak. USVI Ex. 46 at 89:11-16.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

292.   In January 2008, Epstein facilitated an introduction between JPMorgan executives and

Ehud Barak, and Staley directed his assistant to arrange the meeting through Jamie Dimon’s

office. Ex. 173 at -152.

       JPMC Response: Disputed. JPMorgan Chase did not need Epstein to facilitate a
       meeting with Barak (or others). As JPMC’s CEO testified: “I don’t think Jeff Epstein
       ever arranged for me to meet with anybody, to my knowledge. And I knew Ehud Barak.
       We did not need introductions to anybody.” JPMC Ex. 55 at 253:1-4. Further disputed
       to the extent that USVI contends that there was an introduction through Epstein or that he
       facilitated a meeting between JPMC executives and Mr. Barak. Otherwise, undisputed.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

293.   Epstein facilitated meetings between Staley and Peter Mandelson. Ex. 46 at 90:20-24.

       JPMC Response: Undisputed that Staley testified that Epstein facilitated meetings
       between Staley and Peter Mandelson. USVI Ex. 46 at 90:20-24. Disputed as to
       materiality in light of the fact that Epstein did not refer Mandelson to the Private Bank.
       See JPMC Ex. 62 at Resp. 19.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

294.   Lord Peter Mandelson was a senior member of the British Government. Ex. 144 at -009.

       JPMC Response: Undisputed that the cited document states that Lord Peter Mandelson
       is a “senior member of the British Government.” Disputed as to materiality in light of the
                                             171
       fact that Epstein did not refer Mandelson to the Private Bank. See JPMC Ex. 62 at Resp.
       19.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

295.   On June 5, 2009, Epstein wrote to Staley, “well , [sic] for all intends [sic] and purposes

peter mandelson is now deputy prime minister.” Ex. 174 at -959; Ex. 144 at -009; Ex. 175 at 6.

       JPMC Response: Undisputed that the cited document contains the quoted language.
       Disputed as to materiality in light of the fact that Epstein did not refer Mandelson to the
       Private Bank. See JPMC Ex. 62 at Resp. 19.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

296.   On June 17, 2009, Epstein wrote to Staley, “peter will be staying at 71 st over weekend,

do you want to organize either you, or you and Jamie,, [sic] quietly,, [sic] up to you.” Ex. 176 at

-005; Ex. 144 at -009; Ex. 175 at 6.

       JPMC Response: Undisputed that the cited document contains the quoted language.
       Disputed as to materiality in light of the fact that Epstein did not refer Mandelson to the
       Private Bank. See JPMC Ex. 62 at Resp. 19 .

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

297.   In January 2009, Epstein wrote to Staley, “david gergen is coming to see me today.. [sic]

we should talk before twelve.” Ex. 177 at -763; Ex. 144 at -006; Ex. 175 at 4.

       JPMC Response: Undisputed that the cited document contains the quoted language.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

298.   David Gergen is a former adviser to Presidents Nixon, Ford, Reagan, and Clinton. Ex.

144 at -006.
                                               172
       JPMC Response: Undisputed that the cited document states, “David Gergen is the name
       of a former adviser to Presidents Nixon, Ford, Reagan and Clinton through 1994.” USVI
       Ex. 144 at -006.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

299.   Epstein facilitated meetings between JPMorgan employees and Prince Andrew. Ex. 46 at

96:13-16.

       JPMC Response: Undisputed that Staley testified, “[y]es” when asked, “[b]ut Jeffrey
       Epstein at least facilitated meetings between persons working at the bank and Prince
       Andrew; is that fair?” USVI Ex. 46 at 96:13-16. Disputed as to materiality in light of the
       fact that Epstein did not refer Prince Andrew to the Private Bank. See JPMC Ex. 62 at
       Resp. 23; JPMC Ex. 73 at Resp. 36.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

300.   On April 15, 2010, Epstein wrote to Prince Andrew the Duke of York,                          ,

“jes staley will be in London on thurs the 22.. [sic] i think you should meet if you are in town..

[sic].” Ex. 178 at -534; Ex. 144 at -011; Ex. 175 at 6.

       JPMC Response: Disputed to the extent USVI misstates the quoted document.
       Epstein’s email to Prince Andrew states “london,” not “London.” See USVI Ex. 178 at -
       534. Otherwise, undisputed that the cited document contains the quoted text. Disputed as
       to materiality in light of the fact that Epstein did not refer Prince Andrew to the Private
       Bank. See JPMC Ex. 62 at Resp. 23 ; JPMC Ex. 73 at Resp. 36.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

301.   On May 18, 2010, Epstein wrote to Staley, “anadrew [sic] will try to see you on your trip

to london.” Ex. 179 at -970; Ex. 144 at -011; Ex. 175 at 6.

       JPMC Response: Undisputed that the cited document contains the quoted text. Disputed
       as to materiality in light of the fact that Epstein did not refer Prince Andrew to the Private
       Bank. See JPMC Ex. 62 at Resp. 23 (JPMC Response to USVI RFA No. 23); JPMC Ex.
       73 at Resp. 36.
                                                173
       JPMC Response: Disputed to the extent USVI misstates the quoted document, which
       fails to use ellipses between each sentence contained in the quote. See USVI Ex. 182 at -
       808. Otherwise, undisputed that the cited document contains the quoted text. Disputed
       as to materiality in light of the fact that Epstein did not refer Prince Andrew to the Private
       Bank. See JPMC Ex. 62 at Resp. 23; JPMC Ex. 73 at Resp. 36.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

305.   In November 2013, Prince Andrew hosted Jamie Dimon for dinner and performances at

Buckingham Palace. Ex. 183 at -462-63.

       JPMC Response: Undisputed that the Financial Times reported that Prince Andrew
       hosted an event in November 2013 that “had a guestlist that included up to 100 corporate
       and political heavyweights, ranging from Kofi Annan, the former UN secretary-general,
       to Indian industrialist Ratan Tata.” See USVI Ex. 183 at -462-63. Disputed to the extent
       the document does not suggest there was a connection between this event and Jeffrey
       Epstein. In fact, the document states that David Mayhew, a UK financier and adviser to
       JPMC at the time, was “[k]ey to organising the night.” JPMC Ex. 74). Disputed as to
       materiality in light of the fact that Epstein did not refer Prince Andrew to the Private
       Bank. See JPMC Ex. 62 at Resp. 23; JPMC Ex. 73at Resp. 36.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

306.   Epstein facilitated meetings between Staley and Bill Gates. Ex. 46 at 92:20-23.

       JPMC Response: Disputed to the extent the underlying fact, which is supported only by
       Staley’s deposition testimony, requires a credibility determination.

       Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
       benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
       170-175.

307.   Epstein introduced his JPMorgan banker (Paul Morris) to Andrew Farkas. Ex. 160 at

15:23-17:12.

       JPMC Response: Undisputed that Morris testified that Epstein introduced him to
       Farkas. Disputed as to materiality in light of the fact that Farkas did not become Morris’s
       client, USVI Ex. 160 at 16:22-24, and Epstein did not refer Farkas to the Private Bank.
       See JPMC Ex. 62 at Resp. 13; JPMC Ex. 73 at Resp. 28.

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        Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
        benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
        170-175.

308.    Andrew Farkas is a major real estate investor who founded Island Capital Group. Ex. 144

at -006.

        JPMC Response: Undisputed that the cited document states “Andrew Farkas is a major
        real estate investor who founded Island Capital Group.” See USVI Ex. 144 at -006.
        Disputed as to materiality in light of the fact that Farkas did not become Morris’s client,
        USVI Ex. 160 at 16:22-24, and Epstein did not refer Farkas to the Private Bank. See
        JPMC Ex. 62 at Resp. 13; JPMC Ex. 73 at Resp. 28.

        Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
        benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
        170-175.

309.    Epstein introduced JPMorgan to David Mitchell, a real estate developer. Ex. 160 at 14:20-

15:5.

        JPMC Response: Undisputed that Morris testified that Epstein introduced him to
        Mitchell. USVI Ex. 160 at 14:20-15:2. Disputed as to materiality in light of the fact that
        Mitchell did not become Morris’s client. USVI Ex. 160 at 15:3-5.

        Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
        benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
        170-175.

310.    Epstein referred Robert Lee Burch II, former CEO of Jonathan Engineered Solutions and

member of A.W. Jones’ advisory board, as a client to JPMorgan. Ex. 184 at -986; Ex. 39 at Resp.

29.

        JPMC Response: Undisputed.

        Disputed insofar as USVI contends that this fact supports an inference that JPMorgan
        benefited from participating in Epstein’s alleged sex-trafficking venture. See CSMF ¶¶
        170-175.

311.    In 2003, Epstein’s JPMorgan Private Banker (Casey) noted that Epstein “helped us source

several managers, including Glenn Dubin and Steve Saltzman.” Ex. 185 at -893.

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